             Case 2:09-cr-00449-JAM Document 48 Filed 02/25/11 Page 1 of 3


 1   BENJAMIN B. WAGNER
     United States Attorney
 2   MATTHEW G. MORRIS
     Assistant U.S. Attorney
 3   501 I Street, Suite 10-100
     Sacramento, California 95814
 4   Telephone: (916) 554-2700
 5
 6
 7
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                          EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )             2:09-CR-00449 JAM
                                     )
12             Plaintiff,            )             PRELIMINARY ORDER OF
                                     )             FORFEITURE
13        v.                         )
                                     )
14   JOSEPH HATFIELD,                )
                                     )
15             Defendant.            )
     ________________________________)
16
17         Based upon the entry of plea and the stipulation and
18   application for preliminary order of forfeiture entered into
19   between plaintiff United States of America and defendant Joseph
20   Hatfield, it is hereby ORDERED, ADJUDGED AND DECREED as follows:
21         1.   Pursuant to 18 U.S.C. § 982(a)(2)(B) and 1029 (c)(1)(C),
22   defendant Joseph Hatfield’s interest in the following property
23   shall be condemned and forfeited to the United States of America,
24   to be disposed of according to law:
25                a)    Two reader/encoders;
                  b)    Skimmer1;
26                c)    Approximately $26,900 in U.S. Currency; and
                  d)    Gold and diamond earrings.
27
28          1
               Items a-b listed above were inadvertently left out of the plea agreement
     filed November 2, 2010.

                                             1          Preliminary Order of Forfeiture
           Case 2:09-cr-00449-JAM Document 48 Filed 02/25/11 Page 2 of 3


 1        2.   The above-listed property constitutes property used or
 2   intended to be used to commit and/or constitutes proceeds
 3   obtained, directly or indirectly, as a result of violations of 18
 4   U.S.C. §§ 371 and 1029(a)(2).
 5        3.   Pursuant to Rule 32.2(b), the Attorney General (or a
 6   designee) shall be authorized to seize the above-listed property.
 7   The aforementioned property shall be seized and held by the U. S.
 8   Secret Service, in its secure custody and control.
 9        4.   a.    Pursuant to 18 U.S.C. §§ 982(b)(1) and 1029(c)(2),
10   incorporating 21 U.S.C. § 853(n), and Local Rule 171, the United
11   States shall publish notice of the order of forfeiture.          Notice
12   of this Order and notice of the Attorney General’s (or a
13   designee’s) intent to dispose of the property in such manner as
14   the Attorney General may direct shall be posted for at least 30
15   consecutive days on the official internet government forfeiture
16   site www.forfeiture.gov.     The United States may also, to the
17   extent practicable, provide direct written notice to any person
18   known to have alleged an interest in the property that is the
19   subject of the order of forfeiture as a substitute for published
20   notice as to those persons so notified.
21              b.    This notice shall state that any person, other than
22   the defendant, asserting a legal interest in the above-listed
23   property, must file a petition with the Court within sixty (60)
24   days from the first day of publication of the Notice of
25   Forfeiture posted on the official government forfeiture site, or
26   within thirty (30) days from receipt of direct written notice,
27   whichever is earlier.
28        5.   If a petition is timely filed, upon adjudication of all

                                       2        Preliminary Order of Forfeiture
           Case 2:09-cr-00449-JAM Document 48 Filed 02/25/11 Page 3 of 3


 1   third-party interests, if any, this Court will enter a Final
 2   Order of Forfeiture pursuant to 18 U.S.C. §§ 982(a)(2)(B) and
 3   1029(c)(1)(C), in which all interests will be addressed.
 4        SO ORDERED this 24th day of February, 2011.
 5
 6                                          /s/ John A. Mendez
                                            JOHN A. MENDEZ
 7                                          United States District Judge
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                       3        Preliminary Order of Forfeiture
